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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO
                       Alfred A. Arraj United States Courthouse Annex
                                    901 19th Street, A1041
                                   Denver, Colorado 80294
                                        (303) 335-2350

   ROBERT E. BLACKBURN
   United States District Judge

                                      MEMORANDUM

   TO:          Jeffrey P. Colwell, Clerk


   FROM:        Judge Robert E. Blackburn


   DATE:        October 2, 2023

   RE:          Civil Action No. 23-2554
                Marisa v. The Douglas County Sheriff's Office et al

          Exercising my prerogative as a Senior Judge, I request that this civil action be
   reassigned.
